Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 1 of 24




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Case No. _________________________


  ZHIMAN KONG, on behalf of himself
  individually and all others similarly situated, and
  on behalf of VIA MIZNER FUNDING, LP, a
  Florida limited partnership,

        Plaintiffs,
                                                              CLASS ACTION
                      vs.

  NICHOLAS A. MASTROIANNI II; U.S.
  IMMIGRATION FUND GP-MIZNER, LLC, a
  Florida limited liability company; and CAMINO
  INVESTMENTS HOLDINGS LIMITED
  PARTNERSHIP, a Florida limited partnership,

       Defendants.




                                 CLASS-ACTION COMPLAINT
                            FOR EQUITABLE RELIEF AND DAMAGES
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 2 of 24




         Plaintiff Zhiman Kong, on behalf of himself individually and on behalf of all other

  similarly situated members of Via Mizner Funding, LP, a Florida limited partnership (the

  “Funding Partnership”), pursuant to Federal Rule of Civil Procedure (“Rule”) 23, and on behalf

  of the Funding Partnership pursuant to Rule 23.2, alleges as follows upon personal knowledge as

  to Plaintiff’s firsthand experience and on information and belief as to all matters based on

  investigations by counsel.

                                         INTRODUCTION

         1.      In 1990, Congress enacted the EB-5 Immigrant Investor Program (“EB-5

  Program”) to give foreign investors the opportunity to obtain a Green Card for themselves and

  their immediate family by investing in a U.S. business that creates jobs for American workers.

         2.      Real estate developers use the EB-5 program as a source of funding for their

  projects because EB-5 funding often comes at a lower interest rate than traditional financing

  options; EB-5 investors typically have less stringent requirements compared to banks or other

  traditional lenders; and developers can use EB-5 funds to reduce the amount of their own equity

  they need to invest in a project.

         3.      In the present case, the Funding Partnership used the EB-5 Program to raise

  between $48,000,000 and $160,000,000 to fund a construction loan (the “Loan”) to help

  Defendant Camino Investment Holdings Limited Partnership (the “Developer”) defray the cost of

  constructing Via Mizner, a mixed-use real estate project in Boca Raton, Florida (the “Project”).

         4.      To raise the money to fund the Loan, the Funding Partnership offered prospective

  EB-5 investors up to 360 units of membership in the Funding Partnership for $545,000 per unit

  ($500,000 in investment capital and a $45,000 administrative fee) in exchange for becoming

  Limited Partners in the Funding Partnership and 3.5% annual interest on their capital contributions,




                                                 -1-
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 3 of 24




  which would be repaid when the Loan matured five years after it was distributed to the Developer

  (the “Maturity Date”), subject to two conditions.

         5.      First, the Developer had the option of extending the Maturity Date by a maximum

  of one year, which could be exercised in two six-month increments.

         6.      Second, the Limited Partners’ capital contributions would not be repaid until the

  U.S. Customs & Immigration Service (“USCIS”) had fully adjudicated the Limited Partners’

  applications for permanent U.S. Citizenship; that is, if that process was not completed by the

  Maturity Date, the Limited Partners’ investment capital would not be returned to them until it was.

         7.      Because the construction of the Project was expected to occur in three phases, the

  Loan was to have also been distributed to the Developer in three phases. Therefore, each EB-5

  investor would be designated as a “Phase I Limited Partner,” a “Phase II Limited Partner,” or

  a “Phase III Limited Partner,” depending on whether their capital investment was used to fund

  the first, second, or third phase of the Project’s construction.

         8.      Ultimately, however, the Loan was distributed in two phases, so the Limited

  Partners were designated as a “Phase I Limited Partner” or a “Phase II/III Limited Partner,”

  the Loan was referred to as the “Phase I Loan” and the “Phase II/III Loan,” and the Maturity

  Dates for each was September 28, 2017, and February 29, 2021, respectively. 1

         9.      On September 28, 2017, the Developer repaid the Phase I Loan to the Funding

  Partnership, but it was not repaid to the Phase I Limited Partners because USCIS had not fully

  adjudicated their immigration applications. Thus, on October 16, 2017, Defendant Mastroianni, in

  his capacity as General Partner, proposed to amend the Funding Partnership’s Limited Partnership



  1
   Of the 278 EB-5 investors who became Limited Partners, 118 were designated as Phase I Limited
  Partners and 160 were designated as Phase II/III Limited Partners.



                                                   -2-
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 4 of 24




  Agreement for the purpose of enabling him to (1) reinvest the Phase I Limited Partners’ investment

  capital and (2) formally establish the two classes of Limited Partners (Phase I Limited Partners

  and Phase II/III Limited Partners) so they could vote separately from one another (e.g., Phase I

  Limited Partners could not vote on matters relating to the repayment of the Phase II/III Loan).

         10.     On September 25, 2013, Plaintiff became one of the 278 EB-5 investors who paid

  $545,000 for one unit of membership in the Funding Partnership, and was designated as a Phase

  II/III Limited Partner. As such, Plaintiff’s capital investment was subject to the Maturity Date that

  applied to the Phase II/III Loan (on or about March 28, 2021).

         11.     USCIS granted Plaintiff’s I-829 Petition on December 10, 2019. Plaintiff is

  informed and believes that USCIS has adjudicated all the I-829 Petitions that were submitted by

  each of the other eligible Phase II/III Limited Partners.

         12.     To date, however, the Developer has failed to repay the Phase II/III Loan. Instead,

  the Developer received several improper extensions of the Maturity Date that went well beyond

  the one-year maximum described in the offering documents. Initially, the Maturity Date was

  extended from March 28, 2021, to September 28, 2021.

         13.     It was extended yet again—by more than two additional years. In a letter dated

  March 25, 2024, Mastroianni advised the Phase II/III Limited Partners that the Maturity Date had

  been extended to December 31, 2023. In the same letter, Mastroianni disclosed that he had caused

  the Funding Partnership to enter into a forbearance agreement with the Developer, which

  effectively extended the Maturity Date to February 29, 2024. Mastroianni went on to explain that

  the Developer was served with a notice of default when it breached the forbearance agreement.

  Mastroianni had failed to take any action on the default, however, because the Funding Partnership

  lacked the funds needed to pursue litigation.




                                                  -3-
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 5 of 24




         14.     Until receiving Mastroianni’s letter of March 25, 2024, Plaintiff was unaware that

  Mastroianni had permitted the Developer to extend the Maturity Date beyond the one-year

  maximum allowable extension, much less that Mastroianni had entered into a forbearance

  agreement on behalf of the Funding Partnership, without seeking the Limited Partners’ consent.

  And when Plaintiff made a recent inquiry about the Developer’s extensions of the Maturity Date

  and when he could expect repayment of his capital investment and the interest it has accrued,

  Plaintiff was advised that there is no money to repay the Phase II/III Limited Partners.

         15.     As alleged in more detail below, Defendants have engaged in breaches of contract

  and breaches of fiduciary duty. Accordingly, Plaintiff brings this action on behalf of himself and

  all other Phase II/III Limited Partners pursuant to Rule 23, and on behalf of the Funding

  Partnership pursuant to Rule 23.2.

                                              PARTIES

                                             PLAINTIFFS

         16.     Plaintiff Zhiman Kong is an individual participant in the EB-5 Program who is a

  member of the Funding Partnership designated as a Phase II/III Limited Partner. Plaintiff Kong

  was born in mainland China, has been employed as a teacher and a corporate financial planner,

  and now resides in El Monte, California.

                                             DEFENDANTS

         17.     Defendant U.S. Immigration Fund GP-Mizner, LLC (the “General Partner”) is a

  Florida Limited Liability Company (“LLC”) that serves as the General Partner of Via Mizner

  Funding, LLC (the Funding Partnership) and whose principal place of business is Tequesta,

  Florida. The General Partner is managed by Defendant Mastroianni.




                                                 -4-
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 6 of 24




          18.     Defendant Nicholas A. Mastroianni II (“Mastroianni”) is an individual who

  resides in Palm Beach County, Florida, and who controls the General Partner as its Managing

  Member and Chief Executive Officer; the Funding Partnership as its General Partner; Florida

  Regional Center, LLC (the “Regional Center”), as its managing member; and U.S. Immigration

  Fund, LLC (“USIF”) as its Chief Executive Officer. 2

          19.     Defendant Camino Investments Holdings Limited Partnership (the “Developer”) is

  a Florida LLC whose principal place of business is Boca Raton, Florida.

                                    JURISDICTION AND VENUE

          20.     JURISDICTION. This Court has jurisdiction over the claims asserted herein on

  behalf of a class pursuant to the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d).

  Jurisdiction under CAFA is proper because (a) the amount in controversy exceeds five million

  dollars ($5,000,000), exclusive of interest and costs; (b) the proposed class includes more than 100

  members, more than one of whom resides in a state other than Florida; and (c) Defendants have

  purposely availed themselves of the privilege of conducting business within the State of Florida,

  in which the individual Defendants are citizens, in which the entity Defendants have their principal

  place of business, and in which Defendants engaged in unlawful conduct alleged in this Complaint.

          21.     VENUE. Venue is proper in the Southern District of Florida pursuant to 28 U.S.C.

  1391(b)(2) because most of the acts and omissions giving rise to the claims asserted herein

  occurred and continue to occur in this District, and where a substantial part of the property that is

  the subject of this action is situated.



  2
    The Regional Center solicits foreign investors for participation in the EB-5 Program to fund real
  estate development projects and works with investors through the EB-5 immigration process. USIF
  operates the Regional Center (as well as other USCIS-designated Regional Centers in other
  locations) and provides services relating to real estate development, financing, and banking. Both
  entities were involved in the events underlying this action, but they are not parties to this action.


                                                  -5-
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 7 of 24




                                    GENERAL ALLEGATIONS

  A.     THE EB-5 PROGRAM

         22.     To provide an incentive for foreign investment to benefit the American economy

  by creating or preserving American jobs, Congress created the EB-5 Program, by which immigrant

  investors could become permanent residents of the United States in exchange for investing at least

  $500,000 in a U.S. business that used the funds in a manner that creates or maintains at least 10

  full-time American jobs. See, e.g., 8 U.S.C. § 1153(b)(5). 3

         23.     At the outset of the application process, participants in the EB-5 Program submit a

  Form I-526 Immigration Petition by Alien Entrepreneur (“I-526 Petition”). See 6 USCIS Policy

  Manual (“USCIS Policy Manual”), Part G, Ch. 4 (Apr. 2020). If the I-526 Petition is approved

  by USCIS, EB-5 Program participants receive conditional permanent residence status, which

  permits them to reside and travel within the U.S. while their application is pending. Id. EB-5

  Program participants’ capital contributions must also remain invested during the “sustainment

  period,” which is two years after their I-526 Petition is approved. Id., Ch. 5 & n. 4.

         24.     EB-5 Program participants may then seek permanent U.S. residency status by

  submitting a Form I-829 Petition by Entrepreneur to Remove Conditions (“I-829 Petition”). See

  id., Ch. 5. If the USCIS approves the I-829 Petition, those participants and their immediate family

  members are granted permanent immigrant visas (i.e., Green Cards). Id.




  3
    Congress has since enacted the EB-5 Reform and Integrity Act of 2022, which (among other
  things) increased the capital requirement from $500,000 to $800,000 in targeted employment areas
  or infrastructure projects and $1,050,000 for all other projects. See 8 U.S.C. § 1153(b)(5)(A),
  (C)(i)-(ii).



                                                  -6-
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 8 of 24




  B.     RAISING FUNDS FOR A LOAN TO THE DEVELOPER OF THE VIA MIZNER PROJECT FROM
         FOREIGN INVESTORS WHO PARTICIPATED IN THE EB-5 PROGRAM

         25.     On July 11, 2012, the Funding Partnership was formed for the purpose of raising

  up to $160 million in EB-5 funding for Via Mizner, a mixed-use real estate development composed

  of a 118-room luxury hotel, 350 apartments, 100 residential condominium units, Class A office

  space, retail space, and restaurant space in Boca Raton, Florida (i.e., the Project). The Project

  would be constructed in three consecutive phases by the Developer.

         26.     On July 20, 2012, the Funding Partnership published Offering Documents 4 that

  described an opportunity for foreign investors (most, if not all, of whom spoke English as a second

  language, if at all) to obtain permanent residence in the United States via the EB-5 Program by

  investing in the Funding Partnership, which, in turn, would use the proceeds from the Offering to

  fund a construction loan for the Developer (i.e., the Loan). 5

         27.     The Offering involved the sale of up to 320 units of membership in the Funding

  Partnership for $545,000 (i.e., a $500,000 capital investment, as required by the EB-5 Program,

  plus a $45,000 administration fee) per unit.




  4
    The Offering Documents are composed of Subscription Instructions and a Confidential Private
  Placement Memorandum, to which the following exhibits are attached: (a) the Via Mizner Funding
  Limited Partnership Agreement; (b) the Via Mizner Funding Subscription Agreement; (c) Charts
  Summarizing the Immigration and Investment Procedures; (d) a Subscription and Administrative
  Fee Escrow Agreement; (e) an Escrow Administration Services Agreement; (f) a Loan
  Commitment; and (g) Area Maps and Aerial Views of the Project. A true and correct copy of the
  Offering Documents is attached to this Complaint as Exhibit 1. (Pagination, which appears in red
  typeface on the bottom right page of Exhibit 1, has been added for ease of reference.)
  5
   The Loan was expected to be disbursed to the Developer in accordance with the three-phase
  development schedule for the Project (i.e., Phase I, Phase II, and Phase III). See Ex. 1 at 6, 174,
  179.



                                                  -7-
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 9 of 24




          28.     To obtain a unit of membership in the Funding Partnership, each EB-5 investor was

  required to (a) fax or email signed copies of the Subscription Agreement (including the

  Subscription Acknowledgment and IRS forms attached thereto), the Limited Partnership

  Agreement, and the Subscription and Administrative Fee Escrow Agreement to the General

  Partner, and (b) wire the $545,000 payment to the escrow agent. See id. at 3, 147.

          29.     Upon receipt of those funds, the escrow agent released the $45,000 administrative

  fee to the Regional Center and retained the $500,000 capital investment in escrow until the

  subscribing investor’s I-526 Petition was submitted to USCIS (at which point 90% of the capital

  investment would be released to the Funding Partnership and the remaining 10% would be released

  when the USCIS approved the I-526 Petition). Id. at 6.

          30.     After the Funding Partnership approved their proposed investments, each EB-5

  investor became a Limited Partner in the Funding Partnership. See id. The General Partner then

  designated each Limited Partner as a “Phase I Subscriber,” a “Phase II Subscriber,” or a “Phase III

  Subscriber,” depending on whether a given Limited Partner’s capital contribution was expected to

  be disbursed from the Loan to help defray the cost of the first, second, or third phase of the Project’s

  construction, respectively. Id.

          31.     Ultimately, the offering resulted in the sale of 278 units of membership in the

  Funding Partnership, which raised a total of $139 million in investment capital for the Loan to the

  Developer and $12,510,000 in administrative fees for the Regional Center. Of the 278 Limited

  Partners, 118 were designated as Phase I Subscribers and 160 were designated as Phase II/III

  Subscribers. Ex. 2 at 14. 6



  6
   Attached hereto as Exhibit 2 is a true and correct copy of documents comprising a proposal to
  amend the Funding Partnership’s Limited Partnership Agreement (the “Proposal”) in October
  2017: (a) two transmittal letters to the Phase I and Phase II/III Limited Partners; (b) a Limited


                                                   -8-
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 10 of 24




          32.     After the Funding Partnership received the proceeds from the sale of its

  membership units, it would fund the Loan in an amount no less than $48 million and no more than

  $160 million, which the Developer was to use for the exclusive purpose of developing and

  constructing the Project. Ex. 1 at 175-76. In exchange, the Developer would pay a 1% origination

  fee based on the principal amount disbursed in connection with each Phase of the Loan, plus annual

  interest at a rate of 3.5%. Id. at 175.

          33.      The Developer was to repay the principal and all accrued interest five years from

  the dates corresponding with the first disbursement of Loan funding for each of the three phases

  of the Project’s construction (i.e., the Maturity Date), subject to two exceptions. See id. at 47.

          34.     First, repayment would not occur on the Maturity Date if USCIS had yet to

  adjudicate the Limited Partners’ I-829 Petitions. See id. at 47, 55, 149, 175. According to the

  Offering Documents, returning the Limited Partners’ capital before their I-829 Petitions were

  adjudicated would violate the EB-5 Program’s requirement that EB-5 investors’ capital remain

  fully “at risk” until their I-829 Petitions are adjudicated. Id. at 55.

          35.     Second, repayment would not occur on the Maturity Date if the Developer

  exercised its right to extend the Maturity Date for up to one year (subject to the Developer giving




  Partner Consent Letter; (c) a legal memorandum from I.A. Donoso Associates, LLC to the
  Regional Center regarding “Immigration Risks Associated with Repayment of Capital
  Contribution Before the Final Adjudication of an Investor’s I-829 Petition”; (d) a consent letter to
  the Limited Partners dated October 16, 2017, from Mastroianni in his capacity as Chief Executive
  Officer of the Regional Center; (e) a Consent Solicitation Statement from Mastroianni in his
  capacity as the Funding Partnership’s General Partner (which includes a detailed description of the
  “Modification Proposal,” which is also referenced in the Limited Partner Consent Letter and the
  Regional Center’s consent letter); and (f) the proposed Amended and Restated Limited Partnership
  Agreement (which is appended to the Consent Solicitation Statement as Exhibit A). Like Exhibit
  1, pagination appears in red typeface on the bottom right page of Exhibit 2 for ease of reference.



                                                    -9-
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 11 of 24




  written notice to the Funding Partnership at least 90 days before exercising that right, and subject

  to the Developer not materially breaching the Loan agreement). See id. at 47. 7

  C.      MASTROIANNI PROPOSES TO AMEND THE LIMITED PARTNERSHIP AGREEMENT

          36.    On October 16, 2017—approximately five years and four months from the date the

  Offering Documents were published—Defendant Mastroianni, in his capacity as the Funding

  Partnership’s “Authorized Signatory,” distributed two different transmittal letters to the Limited

  Partners: one transmittal letter to the Phase I Subscribers and another transmittal letter to the Phase

  II and Phase III Subscribers, which Mastroianni addressed as “Phase I Limited Partners” and

  “Phase II/III Limited Partners,” respectively. Ex. 2 at 1-2.

          37.    In the transmittal letter to the Phase I Limited Partners, Mastroianni announced that

  “[t]he Phase I EB-5 Loan was paid off by the Developer on September 29, 2017 and the Phase

  II/III EB-5 Loan is set to be repaid by February 28, 2021 (subject to developer extension options).”

  Ex. 2 at 1.

          38.    Mastroianni went on to explain that the Funding Partnership had retained those

  funds until USCIS adjudicated the Phase I Limited Partners’ I-829 Petitions and, therefore,

  proposed that the Phase I Limited Partners’ investment capital be reinvested. According to

  Mastroianni,

          USCIS’s policy relative to capital investments under the EB-5 Program requires
          that each Limited partner’s capital investment be sustained in the Company and
          remain “at risk” until final adjudication of the Limited Partner’s I-829 Petition. As
          such, the Managing Member believes that the proposed reinvestment will help to
          establish that your qualifying investment is sustained in the Company per USCIS



  7
    As discussed below, the Maturity Date of the Loan disbursement that was funded by Phase I
  Subscriber’s capital was September 29, 2017, and the Maturity Date of the Loan disbursement
  that was funded by Phase II and Phase III Subscriber’s capital was February 28, 2021, but was
  later extended.



                                                  - 10 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 12 of 24




          guidelines. Please see the enclosed legal opinion from expert immigration counsel
          which confirms this analysis.

  Id. 8

          39.    Whatever may have been said at the time the Offering Documents were published

  in mid-2012 regarding USCIS policy prohibiting the return of the Limited Partners’ capital

  investments until their I-829 Petitions were adjudicated, there was no longer any good-faith basis

  for making that assertion in connection with the proposal Mastroianni articulated in his October

  16, 2017, transmittal letters and the documents that accompanied them (collectively, the

  “Proposal”).

          40.    As the Regional Center’s counsel explained in its legal memorandum, USCIS had

  clarified its Policy Manual in June 2017 for the purpose of clarifying that EB-5 investors’ capital

  contributions need only be sustained “at risk” until the end of the two-year “sustainment period”

  that follows the approval of an I-526 Petition:

          Recently, USCIS clarified its policy guidance on the critical question of the length
          of time that EB-5 investments are subject to the at-risk requirement. In the revised
          version of its EB-5 Policy Manual, dated June 14, 2017 (the “June 14, 2017 Policy
          Manual”), USCIS states that an EB-5 Investor is required to maintain the Capital
          Contribution invested in the NCE and at risk from the date of the original
          investment of the Capital Contribution until the end of the 2-year conditional
          Green Card status. This period of time is referred to as the “Sustainment Period”
          for the EB-5 Investor's Capital Contribution.

          The June 14, 2017 Policy Manual provides that, after the end of the Sustainment
          Period, it is permissible for the NCE to return the Capital Contribution to EB-5
          Investors even before USCIS has decided the EB-5 Investor's Form I-829
          Petition. USCIS expressly states in a footnote that “[a]n investor does not need
          to maintain his or her investment beyond the sustainment period.”



  8
    Unlike the transmittal letter addressed to the Phase II/III Limited Partners, the transmittal letter
  to the Phase I Limited Partners uses the terms “the Company,” “Managing Member,” and
  “Operating Agreement” as apparent references to the Funding Partnership, its General Partner, and
  its Limited Partnership Agreement, respectively. See, e.g., id. at 11 (first paragraph).



                                                    - 11 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 13 of 24




  Ex. 2 at 8 (emphasis added) (quoting 6 USCIS Policy Manual, Part G, Ch. 5 & n. 4); see also 8

  C.F.R. § 216.6(c)(1)(iii) (“The alien will be considered to have sustained the actions required for

  removal of conditions if he or she has, in good faith, substantially met the capital investment

  requirement of the statute and continuously maintained his or her capital investment over the two

  years of conditional residence”).

            41.    In the transmittal letter to the Phase II/III Limited Partners, Mastroianni reiterated

  that the Developer had repaid the Phase I Limited Partners’ capital investment (without explaining

  that only the Funding Partnership had been repaid, not the Limited Partners who provided the

  capital) and that the Phase II/III Limited Partners would be repaid by February 28, 2021, subject

  to the Developer exercising its options to extend the Maturity Date. See Ex. 2 at 2.

  D.        THE DEVELOPER DEFAULTS ON ITS LOAN OBLIGATIONS

            42.    In an email message dated March 23, 2021, the Regional Center notified the

  Limited Partners that the Developer had extended the Maturity Date by six months, to September

  28, 2021. 9

            43.    On October 21, 2021, three weeks after the extended Maturity Date had passed

  without repayment by the Developer, Mastroianni advised the Limited Partners by letter 10 that the

  Developer had missed deadlines, incurred unexpected costs, and had failed to persuade its senior

  lender “to extend the term or increase the amount of the senior loan[.]” Ex. 4 at 1.




  9
      A true and correct copy of the Regional Center’s email message is attached hereto as Exhibit 3.
  10
       A true and correct copy of the October 26, 2021, letter is attached hereto as Exhibit 4.



                                                   - 12 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 14 of 24




            44.    Nonetheless, Mastroianni added that the Developer had refinanced the Project,

  asserting that it was in the best interest of the Funding Partnership and the Limited Partners

            to approve the replacement senior financing and the resultant modifications to
            the EB-5 mezzanine loan. The manager believes that this course of action is most
            likely to result in the return of the EB-5 investment and on the fastest timeline
            compared to the pursuit of legal remedies (particularly considering the Company
            does not have the financial wherewithal to pursue such remedies).

  Id. at 1-2 (emphasis added).

            45.    The Limited Partners were neither provided with a copy of the modified “EB-5

  mezzanine loan” agreement to which Mastroianni referred in his letter, nor were they offered an

  opportunity to vote on the modifications that had been made to the Loan agreement. As

  Mastroianni later confirmed, however, the modified Loan agreement permitted the Developer to

  extend the Maturity Date well beyond the maximum one-year extension described in the Offering

  Documents without the Limited Partners’ knowledge or consent. See Ex. 1 at 47.

            46.    In a letter dated March 25, 2024, 11 Mastroianni advised the Phase II/III Limited

  Partners that the Maturity Date had been extended to December 31, 2023. Ex. 5 at 1. Moreover,

  Mastroianni had caused the Funding Partnership to enter into a forbearance agreement with the

  Developer, which gave the Developer until February 29, 2024 to repay the Loan. Id. Once again,

  the Limited Partners were given no opportunity to vote on the additional extensions of the Maturity

  Date or on the forbearance agreement.

            47.    In the same letter, Mastroianni announced that the Developer was “in default under

  the loan agreement because of the [Developer’s] failure to repay the outstanding principal balance

  and all other amounts due and owing under the loan documents on or before December 31, 2023



  11
       A true and correct copy of Mastroianni’s letter of March 25, 2024, is attached hereto as Exhibit
  5.


                                                   - 13 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 15 of 24




  (the current maturity date of the loan).” Id. Mastroianni also revealed that the Funding Partnership

  had served the Developer with a notice of default because the Developer had also defaulted on the

  forbearance agreement, adding that “the Developer does not presently have the capital to repay the

  loan, but informs us that advanced third-party negotiations are ongoing which, if successful, would

  result in repayment of the loan in full.” Id.

         48.     Until he received Mastroianni’s letter of March 25, 2024, Plaintiff was unaware of

  the events described in that letter. Plaintiff is also unaware of any other Limited Partner who was

  made aware of these developments or given an opportunity to vote on extending the Maturity Date.

         49.     USCIS granted Plaintiff’s I-829 Petition on December 10, 2019. Plaintiff is

  informed and believes that each of the other eligible Phase II/III Limited Partners have had their

  I-829 Petitions adjudicated.

         50.     Plaintiff recently contacted USIF (one of the companies Mastroianni controls and

  uses to assist with EB-5 projects, including the Project at issue in the present case) to inquire about

  the status of the Phase II/III Loan and when the Developer would repay it. USIF advised Plaintiff

  that there is no money to repay the Phase II/III Limited Partners.

                                 VEIL-PIERCING ALLEGATIONS

         51.     As the founder and President of USIF, founder and CEO of the Regional Center,

  and the founder and Managing Member of the Funding Partnership’s General Partner, Mastroianni

  has used this status to dominate and control those entities to such an extent that these entities’

  independent existence was, and is, non-existent and Mastroianni was, and is, their alter egos.

  Mastroianni commingled these entities’ assets and used their limited liability status as mere

  instrumentalities for personal benefit and for other improper and misleading purposes, such as

  frustrating creditors (e.g., the Limited Partners) to the detriment of and injury to the Funding




                                                  - 14 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 16 of 24




  Partnership and the Limited Partners.

                                 CLASS ACTION ALLEGATIONS

         52.     Plaintiff brings this lawsuit as a class action on behalf of himself and all other

  persons similarly situated pursuant to Federal Rule of Civil Procedure (“Rule”) 23(a), Rule 23

  (b)(2), and Rule 23(b)(3), and on behalf of the Funding Partnership pursuant to Rule 23.2.

         53.     The class is defined as follows: All persons who invested in the Funding Partnership

  and were designated as Phase II/III Limited Partners (the “Class”). Excluded from the Class are

  Defendants, their affiliates, subsidiaries, agents, board members, directors, officers, and/or

  employees; the Court and its staff; and any Limited Partner who has entered into a valid agreement

  to settle, waive, or otherwise resolve their claims against Defendants.

         54.     Plaintiff reserves the right to modify or amend the definitions of the proposed Class

  before the Court determines whether class certification is appropriate.

         55.     The Class satisfies the requirements of Rule 23(a), Rule 23(b)(2), Rule 23(b)(3), as

  well as Rule 23.2.

         56.     NUMEROSITY. The Class consists of approximately 160 geographically dispersed

  individual Limited Partners. The Class is sufficiently numerous to warrant certification. Joinder of

  the class members is not practicable. The disposition of the claims of the Class members in a single

  action will provide substantial benefits to all parties and to the Court.

         57.     ASCERTAINABILITY. The individual Class members are ascertainable, as the names

  and addresses of all Class members can be identified in the business records maintained by the

  Developer and the General Partner. Notice of this action can thus be provided to all members of

  the proposed Class.




                                                  - 15 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 17 of 24




         58.     TYPICALITY. Plaintiffs were investors in the Funding Partnership at the time of the

  wrongdoing alleged herein. Plaintiff’s claims are typical of the claims of all proposed Class

  members as all Limited Partners are similarly affected by Defendants’ wrongful conduct as

  complained of herein.

         59.     ADEQUACY. Plaintiff is committed to prosecuting the action, will fairly and

  adequately protect the interests of the members of the proposed Class, and have retained competent

  counsel who are experienced in class-action and derivative litigation, including cases pertaining to

  breaches of fiduciary duty, breaches of contract, and other claims like those alleged herein.

  Plaintiff has no interests antagonistic to or in conflict with other members of the proposed Class.

         60.     COMMONALITY AND PREDOMINANCE. Common questions of law and fact exist as

  to all members of the proposed Class and predominate over any questions solely affecting

  individual members of the proposed Class. The questions of law and fact common to the Class

  include, but are not limited to, the following:

         a.      Whether Mastroianni and the General Partner breached their fiduciary duties to the

  proposed Class;

         b.      Whether Mastroianni and the General Partner breached the Limited Partnership

  Agreement; and

         c.      Whether Mastroianni and the General Partner violated the Florida Revised Uniform

  Limited Partnership Act of 2005.

         61.     SUPERIORITY. The Class may be certified under Rules 23(b)(3), 23(c)(4), and 23.2.

  Questions of law or fact common to proposed Class members predominate over any questions

  affecting only individual members. Class treatment of such common questions of law and fact is

  a superior method to piecemeal litigation because class treatment will conserve the resources of




                                                    - 16 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 18 of 24




  the courts and will promote efficiency of adjudication. Class treatment will also avoid the

  substantial risk of inconsistent factual and legal determinations on the many issues in this lawsuit.

  There will be no unusual difficulty in the management of this action as a Class action.

                                        CLAIMS FOR RELIEF

                                             COUNT I
                                     BREACH OF FIDUCIARY DUTY

          62.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

  above in paragraphs 1 through 15 and paragraphs 22 through 50 as though fully set forth herein.

          63.    This Count is brought on behalf of Plaintiff, the other Phase II/III Limited Partners,

  and the Funding Partnership against Mastroianni and the General Partner.

          64.    Defendants are fiduciaries of the Funding Partnership and they owed a duty to

  conduct its business loyally, faithfully, carefully, diligently, and prudently.

          65.    In blatant disregard for his fiduciary duties and for the conflicts of interests resulting

  from his role as the Managing Member of the General Partner, Mastroianni breached his fiduciary

  duties to the Funding Partnership by, inter alia, engaging in the following conduct:

                  a.     allowing the Developer to extend the Maturity Date far beyond the one-year

  maximum described in the Offering Documents;

                  b.     assisting the Developer’s refinancing efforts notwithstanding the

  representations in the Offering Documents that refinancing before the Limited Partners’ I-829

  Petitions were adjudicated would result in preventing the Developer from extending the Maturity

  Date;

                  c.     after providing material assistance to refinance the Project, allowing the

  Developer to repeatedly exercise options to extend the Maturity Date;




                                                  - 17 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 19 of 24




                  d.     negotiating and entering into a forbearance agreement with the Developer

  on behalf of the Funding Partnership;

                  e.     failing to make reasonable efforts to collect the Loan principal and accrued

  interest owed by the Developer, and refusing to seek relief through litigation even after serving a

  notice of default on the Developer;

                  f.     failing to inform the Limited Partners of events that could have, and did

  have, a material effect on their interests and those of the Funding Partnership; and

                  g.     failing to provide the Limited Partners with opportunities to vote on matters

  that could have, and did have, a material effect on their interests and those of the Funding

  Partnership.

         66.     Defendants’ conduct and inaction contravened their duty to promote the interests

  of the Limited Partners and the Funding Partnership, and could not have been a good-faith exercise

  of disinterested business judgment.

         67.     As a direct and proximate result of Defendants’ conduct and inaction, the Limited

  Partners and the Funding Partnership have been damaged in amounts that will be proved at trial.

         68.     In conducting themselves as alleged herein, Defendants acted reprehensibly, in

  blatant violation of the law and public policy. Moreover, Defendants acted willfully, with the intent

  to vex and injure the Limited Partners and the Funding Partnership with a conscious disregard of

  their fiduciary duties, which entitles the Limited Partners and the Funding Partnership to an award

  of punitive and exemplary damages.

                                          COUNT II
                            BREACH OF CONTRACT—LOAN AGREEMENT

         69.     Plaintiff incorporates by reference and re-alleges each and every allegation set forth

  above in paragraphs 1 through 15 and paragraphs 22 through 50 as though fully set forth herein.



                                                 - 18 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 20 of 24




         70.     This Count is brought on behalf of the Funding Partnership against the Developer.

         71.     On or about July 21, 2012, the Funding Partnership and the Developer agreed to

  the terms of a Loan Commitment.

         72.     Based on the terms of the Loan Commitment, the Funding Partnership and the

  Developer entered into a binding loan agreement by which the Funding Partnership used the

  Limited Partners’ capital contributions to provide the Developer with a construction loan secured

  by recorded and perfected security interests in the Project and the real property on which it is

  situated, the proceeds of which would be disbursed to the Developer in tranches that corresponded

  with phases of the Project’s construction and repaid in full to the Funding Partnership, together

  with 3.5% annual interest, on the Maturity Date, subject to the Developer exercising a right to

  extend the Maturity Date (the “Loan Agreement”).

         73.     The Funding Partnership did all, or substantially all, of the significant things that

  the Loan Agreement required it to do.

         74.     All conditions required for the Funding Partnership’s performance occurred when

  it deposited the proceeds from the sale of units of membership in the Funding Partnership, the

  aggregate amount of which was $139,000,000, into the escrow account for the purpose of funding

  the Loan to the Developer.

         75.     Plaintiff is informed and believes that the Developer repaid the portion of the Loan

  pertaining to the Phase I Limited Partners’ capital contributions (amounting to $59,000,000) on or

  about September 29, 2017.

         76.     Notwithstanding multiple extensions of the Maturity Date and a forbearance

  agreement that extended the duty to repay the portion of the Loan pertaining to the Phase II/III

  Limited Partners’ capital contributions by February 28, 2021, which was extended to December




                                                - 19 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 21 of 24




  30, 2023, and extended again to February 29, 2024, by way of a forbearance agreement, the

  Developer breached its obligations under the Loan Agreement and the forbearance agreement by

  failing to repay the Loan principal and all accrued interest.

          77.     As a proximate result of the Developer’s breaches of contract, the Funding

  Partnership has been damaged in an amount equal to the $80,000,000 it borrowed plus accrued

  interest.

                                       COUNT III
              BREACH OF CONTRACT—SUBSCRIPTION AGREEMENT AND LOAN AGREEMENT

          78.     Plaintiff incorporates by reference and re-alleges each and every allegation set forth

  above in paragraphs 1 through 15 and paragraphs 22 through 50 as though fully set forth herein.

          79.     This Count is brought on behalf of Plaintiff and the Other Phase II/III Limited

  Partners against the General Partner.

          80.     In or before February 2016, Plaintiff and the other Phase II/III each entered into the

  Subscription Agreement and the Limited Partnership Agreement (which was amended in or about

  October 2017).

          81.     The Phase II/III Limited Partners did all, or substantially all, of the significant

  things that the Subscription Agreement and the Limited Partnership Agreements required them to

  do.

          82.     All conditions required for the Phase II/III Limited Partners’ performance occurred

  when they deposited the proceeds of their purchases of units of membership in the Funding

  Partnership, the aggregate amount of which was $80,000,000, into escrow for the purpose of

  funding the Loan to the Developer.




                                                  - 20 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 22 of 24




         83.     The Phase II/III Limited Partners were to be repaid the principal amount of their

  capital contributions, plus accrued interest, by the Maturity Date, subject to valid extensions of the

  Maturity Date by the Developer, but in no event later than February 29, 2024.

         84.     Due to the actions and inactions of Mastroianni and the General Partner, the

  Funding Partnership has defaulted on the Subscription Agreement and the Loan Agreement.

         85.     As a proximate result of the Funding Partnership’s default (through no fault of its

  own), Plaintiff and the other Phase II/III Limited have been damaged in an amount equal to the

  $80.000,000, plus applicable interest.

                                              COUNT IV
                                             ACCOUNTING

         86.     Plaintiff incorporates by reference and re-alleges each and every allegation set forth

  above in paragraphs 1 through 15 and paragraphs 22 through 50 as though fully set forth herein.

         87.     This Count is brought on behalf of Plaintiff, the other Phase II/III Limited Partners,

  and the Funding Partnership against Defendants Mastroianni and the General Partner.

         88.      Plaintiff seeks an equitable accounting of the accounts, assets, and liabilities of the

  Funding Partnership.

         89.     Mastroianni, as Managing Member of the General Partner, has engaged in self-

  dealing and has mismanaged the business and affairs of the Funding Partnership in the manner

  alleged herein, thereby placing the Funding Partnership’s assets at undue risk.

         90.     Plaintiff does not have an adequate remedy at law because Defendants have control

  over the accounts, records, and assets of the Funding Partnership. Moreover, as stated in the

  Amended and Restated Limited Partnership Agreement,

         [e]ach Partner acknowledges and agrees that the remedy at law for any breach of
         any of the terms of this Agreement would be inadequate, and agrees and consents
         that temporary and permanent injunctive and other equitable relief may be granted



                                                  - 21 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 23 of 24




         in any proceeding which may be brought to enforce any provision of this
         Agreement, including within such other equitable relief, specific performance,
         without the necessity of proof of actual damage or inadequacy of any legal remedy.
         Any right or remedy provided for in this Agreement shall be cumulative of any
         other right, power, or remedy provided for by law or in equity.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of himself, the Phase II/III Limited Partners, and the

  Funding Partnership, demand judgment against Defendants as follows:

         (1)      declaring this action to be a proper class action maintainable pursuant to Federal

  Rule of Civil Procedure 23(a), 23(b)(2), 23(b)(3), and 23.2, and declaring Plaintiff and his counsel

  to be representatives of and counsel for the proposed Class;

         (2)      awarding compensatory and punitive damages for Defendants’ breaches of

  fiduciary duty, as alleged in Count I;

         (3)      awarding compensatory damages for Defendants’ breaches of contract, as alleged

  in Count II;

         (4)      awarding compensatory damages for Defendants’ breaches of contract, as alleged

  in Count III;

         (5)      an accounting of the Funding Partnership’s assets, as alleged in Count IV;

         (6)      awarding Plaintiff and members of the proposed Class attorney fees and costs

  pursuant to the common fund doctrine and the substantial benefit doctrine;

         (7)      awarding the Plaintiff and the proposed Class prejudgment interest at the maximum

  rate allowable by law; and

         (8)      awarding such other and further relief the Court deems just, proper and equitable.




                                                 - 22 -
Case 9:25-cv-80121-AMC Document 1 Entered on FLSD Docket 01/28/2025 Page 24 of 24




                                   DEMAND FOR JURY TRIAL

         Plaintiff, on behalf of himself and the proposed Class, hereby requests a jury trial for any

  and all Counts for which a trial by jury is permitted by law.


  Dated: January 28, 2025                       Respectfully submitted,
                                                by /s/ Jonathan M. Stein
                                                Jonathan M Stein (Fla. Bar No. 9784)
                                                STEINLAW FLORIDA, PLLC
                                                825 Corporate Boulevard Northwest
                                                Suite 110
                                                Boca Raton, FL 33431
                                                T: 561-834-2699
                                                E: jon@steinlawflorida.com

                                                Jeffrey L. Fazio (jlf@fazmiclaw.com)
                                                Pro Hac Vice application pending
                                                Dina E. Micheletti (dem@fazmiclaw.com)
                                                Pro Hac Vice application pending
                                                FAZIO | MICHELETTI LLP
                                                1111 Broadway, Suite 400
                                                Oakland, CA 94607
                                                T: 925-543-2555

                                                Yi Yao
                                                Pro Hac Vice application pending
                                                Yumeng Jiang
                                                Pro Hac Vice application pending
                                                DEHENG LAW OFFICES, P.C.
                                                Silicon Valley Office
                                                7901 Stoneridge Drive, Suite 208
                                                Pleasanton, CA 94588
                                                T: 925-399-5856
                                                E: yyao@dehengsv.com

                                                Attorneys for Plaintiff Zhiman Kong
                                                and the Proposed Class




                                                 - 23 -
